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14
15                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
16                              EASTERN DIVISION
17   RAHSHUN TURNER, on behalf of             Case No. 5:16-CV-00355-VAP (DTBx)
18   themselves and all others similarly
     situated,                                CLASS ACTION
19               Plaintiffs,                  [Proposed] ORDER RE
20                                            MENTAL HEALTH STAFFING
     v.
21                                            District Court Judge Virginia A.
22   COUNTY OF SAN BERNARDINO,                Phillips
             Defendant.                       Magistrate Judge David T. Bristow
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                                           STIPULATION AND ORDER RE MENTAL HEALTH STAFFING
                                                               CASE NO. 5:16-CV-00355 VAP (DTBX)
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1          Pursuant to the stipulation of the parties and the Court’s authority as set forth in
2    the Consent Decree (ECF No. 106), the Defendant shall take the following actions:
3          1.     The Sheriff’s office shall use all reasonable means to recruit, hire and train
4    20 mental clinicians authorized by the San Bernardino County Board of Supervisors
5    (BOS) at its January 7, 2020 meeting.
6          2.     The Sheriff’s office shall prioritize assigning these additional 20 mental
7    health clinicians to units with the most acute mental health needs.
8          3.     The Sheriff’s office will provide and maintain sufficient correctional staff
9    to transport and escort inmates for mental health services in confidential settings, and to
10   provide direct security supervision in specialized mental health housing units during
11   programming and activity hours. The Sheriff’s office will assign 30 deputies to mental
12   health services, in addition to the two deputies currently assigned to each mental health
13   housing unit for general security purposes. The 30 additional deputies will be
14   reassigned to these duties as necessary as mental health staff are added.
15         4.     The Sheriff’s office shall submit to the BOS during the Fiscal Year
16   2020/2021 budget process a proposal to fund the additional 39.81 mental health
17   positions, beginning July 1, 2020.
18         5.     Concurrently with the efforts to recruit, hire and train the 20 mental health
19   clinicians authorized in January 2020 and continuing thereafter, the Sheriff’s office and
20   its contractor Liberty Health shall take all reasonable steps to recruit staff to fill the
21   proposed additional 39.81 mental health positions. The Sheriff’s office and Liberty
22   Health have as their goal recruiting and prospectively hiring staff to fill as many of the
23   additional positions as reasonably possible so that such staff are available to commence
24   work effective July 1, 2020 in the event the BOS approves the funding for such
25   positions.
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                                                        [PROPOSED] ORDER RE MENTAL HEALTH STAFFING
                                                                       CASE NO. 5:16-CV-00355 VAP (DTBX)
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1          6.     The Sheriff’s office shall inform Plaintiffs’ counsel no later than June 9,
2    2020, whether the proposal to fund the additional 39.81 mental health positions has been
3    approved by the BOS.
4          7.     If the Sheriff’s proposal for the additional 39.81 mental health positions is
5    approved, the Sheriff’s office and its contractor Liberty Health shall take all reasonable
6    steps to ensure that staff members hired to fill such positions are onboarded, commence
7    working and are trained as quickly as reasonably possible.
8          8.     If the Sheriff’s proposal for the additional 39.81 mental health positions is
9    not approved, Plaintiffs shall retain all rights set forth in the Consent Decree to enforce
10   provisions of the Remedial Plan.
11         9.     The Sheriff’s office retains all rights set forth in the Consent Decree to seek
12   modification of the provisions of the Remedial Plan.
13         IT IS SO ORDERED.
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15         Dated: February 20, 2020                        ______________________
16                                                         Hon. Virginia A. Phillips
                                                           United States District Judge
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                                                      [PROPOSED] ORDER RE MENTAL HEALTH STAFFING
                                                                     CASE NO. 5:16-CV-00355 VAP (DTBX)
